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                      UNITED STATES BANKRUPTCY COURT
                       FOR THE DISTRICT OF COLORADO
                      Bankruptcy Judge Joseph G. Rosania, Jr.

 In re:

 GUNNISON VALLEY PROPERTIES,                 Case No. 24-15052-JGR
 LLC,                                        Chapter 11
 EIN: XX-XXXXXXX,

          Debtor.


                             ORDER REGARDING NOTICE


      THIS MATTER is before the Court on the Application to Employ Bluebird Real
Estate as Real Estate Broker to Market and Sell Real Property filed by the Debtor on
October 7, 2024 (Doc. 57). The Court, having reviewed the motion,

      FINDS that notice pursuant to Fed.R.Bankr.P. 9013 is appropriate under L.B.R.
2014-1(a)(8) as the listing agreements referenced in the motion were executed prior to
the bankruptcy filing.

       IT IS THEREFORE ORDERED that no further action shall be taken with regard to
the Motion, until such time as Movant complies with L.B.R. 9013-1 and the matter is
properly brought before the Court upon the filing of a certificate of contested or non-
contested matter in accordance with L.B.R. 9013-1(c). In the event Movant fails to comply
as provided herein, the Motion shall be deemed moot and, upon the closing of the case
in the ordinary course, be deemed denied for lack of prosecution in accordance with
L.B.R. 9013-1(f).


Dated this ____          October
            8th day of __________, 2024.

                                               BY THE COURT:



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                                                     hGG.. Rosania, Jr.
                                               United States
                                                    d St  t B Bankruptcy
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